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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                         CASE NO. 21-CR-20218-SINGHAL

  UNITED STATES OF AMERICA,
  Plaintiff,

  v.

  YUDLIANELA PEREZ,
  Defendant.
                                       /

                  UNOPPOSED MOTION TO CONTINUE TRIAL
                        AND RELATED DEADLINES

          The Defendant, YUDLIANELA PEREZ, through undersigned counsel, and

  without opposition from counsel for the Government, respectfully requests that this

  Honorable Court continue the trial and related deadlines in this matter. In support,

  undersigned counsel states as follows:

  1.      The trial in this case is set for two-week period commencing on March 28,

  2022.


  2.      The Defendant is charged by Indictment [DE 3] in the above styled matter with

  Conspiracy to Possess with the Intent to Distribute Methamphetamine, in violation

  of 21 U.S.C. § 846.


  3.      On or about mid-September of 2021, undersigned counsel received voluminous

  discovery consisting of approximately 12 terabytes (TB) on the undersigned’s
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  external hard drive from the government [DE 129].


  4.    Defense counsel is still in the process of reviewing said second round of

  discovery [DE 129].


  5.    Defendant, therefore, needs additional time to adequately examine all discovery

  and prepare for the trial of this case.


  6.    Consequently, Defendant respectfully requests that this Honorable Court

  continue the trial of this cause for 60 days.


  7.    Defense counsel will be out of the country from June 6-24, 2022 and asks that

  the trial not be set during that period.


  8.    Pursuant to Local Rule 88.9, Assistant United States Sean McLaughlin advised

  that he does not oppose the instant request.

        WHEREFORE, Defendant, YUDLIANELA PEREZ, through undersigned

  counsel, and without opposition from counsel for the Government, respectfully

  requests that this Honorable Court continue the trial and related deadlines in this

  matter.


                                                  Respectfully submitted,
                                                  Gennaro Cariglio Jr. P.L.
                                                  8101 Biscayne Blvd
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                                           Florida Bar No. 51985
                                           Attorney for the Defendant
